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                     Exhibit A
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                                                                                                                IRIS Y. MARTINEZ
                                                                                                                CIRCUIT CLERK
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                                           2120 - Served                2121 - Served              2620 - Sec. of State
                                           2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                           2320 - Served By Mail        2321 - Served By Mail
                                           2420 - Served By Publication 2421 - Served By Publication
                                           Summons - Alias Summons			                                           (12/01/20) CCG 0001 A


                                                                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                           Name all Parties
                                           JAMES BOGOVICH


                                                                                    Plaintiff(s)
                                                                   v.
                                                                                                   Case No.   2020L066084
                                           JASON STEARNS


                                                                                  Defendant(s)
                                           2204 PLACID DR
                                           CARROLLTON, TX 75007

                                                                   Address of Defendant(s)
                                           Please serve as follows (check one):       Certified Mail      Sheriff Service    Alias
                                                                                         SUMMONS
                                           To each Defendant:
                                           You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                           You are summoned and required to file your appearance, in the office of the clerk of this court,
                                           within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                           judgment by default may be entered against you for the relief asked in the complaint.
                                                              THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                           To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                           COURTHOUSE. You will need: a computer with internet access; an email address; a completed
                                           Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
                                           appearance.asp; and a credit card to pay any required fees.



                                                        Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                             cookcountyclerkofcourt.org
                                                                                            Page 1 of 3
                                                       Case: 1:21-cv-03416 Document #: 1-1 Filed: 06/25/21 Page 17 of 18 PageID #:22
                                           Summons - Alias Summons                                                                                 (12/01/20) CCG 0001 B
                                           E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                           service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
                                           provider.
                                           If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
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                                           your local circuit clerk’s office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
                                           person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                           If you are unable to pay your court fees, you can apply for a fee waiver.  For information about defending
                                           yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
                                           illinoislegalaid.org. You can also ask your local circuit clerk’s office for a fee waiver application.
                                           Please call or email the appropriate clerk’s office location (on Page 3 of this summons) to get your court hearing
                                           date AND for information whether your hearing will be held by video conference or by telephone. The Clerk’s
                                           office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
                                           NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                 appearance by. You may file your appearance form by efiling unless you are exempted.
                                           A court date will be set in the future and you will be notified by email (either to the email address that you used to
                                           register for efiling, or that you provided to the clerk’s office).
                                           CONTACT THE CLERK’S OFFICE for information regarding COURT DATES by visiting our website:
                                           cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
                                           appropriate clerk’s office location listed on Page 3.
                                           To the officer:  (Sheriff Service)
                                           This summons must be returned by the officer or other person to whom it was given for service, with endorsement
                                           of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
                                           endorsed. This summons may not be served later than thirty (30) days after its date.




                                                         41535
                                              Atty. No.: ________________                                 Witness date
                                              Pro Se 99500                                                        6/7/2021 2:19 PM IRIS Y. MARTINEZ

                                           Name: Patrick M. Crowley
                                           Atty. for (if applicable):                                                  IRIS Y. MARTINEZ, Clerk of Court
                                           The Plaintiff                                                      Service by Certified Mail: ___________

                                           Address: 100 N Riverside Plaza, Suite 2400                        Date of Service: ____________
                                                                                                             (To be inserted by officer on copy left with employer or other person)
                                           City: Chicago
                                                   IL
                                           State: ____           60606
                                                            Zip: ________
                                                      312-482-8200
                                           Telephone: ________________________
                                           Primary Email: pcrowley@vrdolyak.com

                                                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                                        Case: 1:21-cv-03416 Document #: 1-1 Filed: 06/25/21 Page 18 of 18 PageID #:23

                                                                  GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                           CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                           appropriate division, district or department to request your next court date.  Email your case number, or, if you do
                                           not have your case number, email the Plaintiff or Defendant’s name for civil case types, or the Defendant’s name
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                                           and birthdate for a criminal case.


                                                       CHANCERY DIVISION                                          ALL SUBURBAN CASE TYPES
                                           Court date EMAIL: ChanCourtDate@cookcountycourt.com                        DISTRICT 2 - SKOKIE
                                           Gen. Info: (312) 603-5133                                     Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                           CIVIL DIVISION                                Gen. Info: (847) 470-7250
                                           Court date EMAIL: CivCourtDate@cookcountycourt.com                  DISTRICT 3 - ROLLING MEADOWS
                                           Gen. Info: (312) 603-5116                                     Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                         COUNTY DIVISION                                 Gen. Info: (847) 818-3000
                                           Court date EMAIL: CntyCourtDate@cookcountycourt.com                      DISTRICT 4 - MAYWOOD
                                           Gen. Info: (312) 603-5710                                     Court date EMAIL: D4CourtDate@cookcountycourt.com
                                            DOMESTIC RELATIONS/CHILD SUPPORT                             Gen. Info: (708) 865-6040
                                                             DIVISION                                              DISTRICT 5 - BRIDGEVIEW
                                           Court date EMAIL: DRCourtDate@cookcountycourt.com             Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                         Gen. Info: (708) 974-6500
                                           Gen. Info:    (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                       DOMESTIC VIOLENCE                                 Court date EMAIL: D6CourtDate@cookcountycourt.com
                                           Court date EMAIL: DVCourtDate@cookcountycourt.com             Gen. Info: (708) 232-4551
                                           Gen. Info: (312) 325-9500
                                                            LAW DIVISION
                                           Court date EMAIL: LawCourtDate@cookcountycourt.com
                                           Gen. Info: (312) 603-5426
                                                        PROBATE DIVISION
                                           Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                           Gen. Info: (312) 603-6441




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